
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a1410-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a1140-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a1401-15.pdf (transposed characters)
/attorneys/assets/opinions/appellate/unpublished/a1414-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1420-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1210-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1440-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1710-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1460-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1490-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a1510-15.pdf (mistyped character)


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